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 6                      IN THE UNITED STATES DISTRICT COURT
 7                            FOR THE DISTRICT OF ARIZONA
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 9    Jamil Addullah Al-Amin,                          No. CV-21-00200-TUC-JCH (MSA)
10                  Petitioner,                        ORDER
11    v.
12    Unknow Party, et al.,
13                  Respondents.
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15          Petitioner Jamil Addullah Al-Amin initiated this habeas-corpus action without the
16   benefit of counsel. However, counsel appeared on behalf of Petitioner on March 1, 2022.
17   (Doc. 29.) Good cause appearing,
18          IT IS ORDERED that, on or before March 25, 2022, Petitioner shall file a notice,
19   indicating whether he intends to file a second amended petition or proceed on the operative
20   first amended petition. (Docs. 10, 15.)
21          IT IS FURTHER ORDERED that Petitioner may respond to the motion to
22   intervene (Doc. 25) on or before March 25, 2022. If Petitioner files a response, then
23   Intervenor Timothy Ward may file a reply on or before April 1, 2022.
24          Dated this 14th day of March, 2022.
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